       Case 1:04-cr-00211-SM     Document 10     Filed 10/25/05   Page 1 of 2




                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                              Case No. 04-cr-211-01-SM

Juan Rosario

                                    ORDER

      Defendant Rosario’s motion to continue the final pretrial conference and

trial is granted (document 9). Trial has been rescheduled for the January 2006

trial period. Defendant Rosario shall file a waiver of speedy trial rights not

later than November 3, 2005. On the filing of such waiver, his continuance

shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendant in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendant the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: December 15, 2005 at 4:00 p.m.

      Jury Selection: January 4, 2006 at 9:30 a.m.
      Case 1:04-cr-00211-SM   Document 10   Filed 10/25/05   Page 2 of 2




      SO ORDERED.



                                  ____________________________
                                    Steven J. McAuliffe
                                    Chief Judge

October 25, 2005

cc:   Stephen Wight, Esq.
      Clyde Garrigan, AUSA
      US Probation
      US Marshal




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